      Case 8:23-cr-00012-FWS Document 1 Filed 01/25/23 Page 1 of 2 Page ID #:1



1

2

3                                                                      1/25/2023
4                                                                        DTA


5

6

7

8                           UNITED STATES DISTRICT COURT

9                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
10                                SOUTHERN DIVISION

11   UNITED STATES OF AMERICA,               No. 8:23-cr-00012-FWS

12             Plaintiff,                    I N F O R M A T I O N

13             v.                            [18 U.S.C. § 666(a)(1)(B): Bribery
                                             Concerning a Program Receiving
14   EUGENE YOUNG,                           Federal Funds]

15             Defendant.

16

17        The United States Attorney charges:
18                           [18 U.S.C. § 666(a)(1)(B)]
19        From in or around June 2016 to in or around July 2020, in Orange
20   County, within the Central District of California, defendant EUGENE
21   YOUNG, an employee and agent of OptumRX, an organization that
22   received in any one-year period, including in calendar years 2016 to
23   2020, benefits in excess of $10,000 under a federal program involving
24   a contract and other Federal assistance, corruptly solicited and
25   demanded for the benefit of a person, and accepted and agreed to
26   accept, something of value from a person, intending to be influenced
27   and rewarded in connection with a business, transaction, and series
28   of transactions of OptumRX having a value of $5,000 or more.
      Case 8:23-cr-00012-FWS Document 1 Filed 01/25/23 Page 2 of 2 Page ID #:2



1    Specifically, defendant YOUNG solicited, demanded, and agreed to

2    accept a series of bribe payments totaling approximately $155,000

3    from a person, intending to be influenced and rewarded in connection

4    with credentialing that person’s pharmacies, enabling the pharmacies

5    to bill OptumRX when filling prescriptions of Medicare-eligible

6    patients.

7                                          E. MARTIN ESTRADA
                                           United States Attorney
8

9
10                                         MACK E. JENKINS
                                           Assistant United States Attorney
11                                         Chief, Criminal Division
12                                         BENJAMIN R. BARRON
                                           Assistant United States Attorney
13                                         Chief, Santa Ana Branch Office
14                                         JENNIFER L. WAIER
                                           Assistant United States Attorney
15                                         Deputy Chief, Santa Ana Branch
                                           Office
16
                                           DANIEL S. LIM
17                                         Assistant United States Attorney
                                           Santa Ana Branch Office
18

19

20

21

22

23

24

25

26

27

28

                                            2
